905 F.2d 1528Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dennis Wayne COCHRAN, Plaintiff-Appellant,v.T.V. BAIR, Warden;  Fred W. Greene, Acting Warden;  David L.Smith, Assistant Warden;  Jerry W. Pulley, Sgt.,Correctional Officer, Defendants-Appellees.
    No. 89-6327.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 27, 1990.Decided May 3, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Claude M. Hilton, District Judge.  (C/A No. 88-94-AM)
      Dennis Wayne Cochran, appellant pro se.
      Mark Ralph Davis, Office of the Attorney General, Richmond, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before SPROUSE and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Dennis Wayne Cochran appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Cochran v. Bair, C/A No. 88-94-AM (E.D.Va. Oct. 10, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    